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 4   Attorney for Defendant
     MARCUS WILLIAMS
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          No. 2:09-CR-00194-KJM
11                                Plaintiff,            STIPULATION AND ORDER TO
                                                        CONTINUE JUDGMENT AND
12          vs.                                         SENTENCING OF MARCUS
                                                        WILLIAMS
13   CESAR FIGUEROA, JR., et al.,
14                                Defendants.
15
16          IT IS HEREBY STIPULATED by and between the parties hereto through their
17   respective counsel, Jill Thomas, Assistant United States Attorney, attorney for plaintiff, and
18   Michael E. Hansen, attorney for defendant Marcus Williams, that the previously-scheduled
19   judgment and sentencing date of June 2, 2011, be vacated and the matter set for judgment and
20   sentencing on July 7, 2011, at 10:00 a.m.
21          This continuance is requested as plaintiff’s counsel and defendant’s counsel will be in
22   trial on June 2, 2011. Probation concurs with this continuance.
23   Dated: May 27, 2011                                 Respectfully submitted,
24                                                       /s/ Michael E. Hansen
                                                         MICHAEL E. HANSEN
25                                                       Attorney for Defendant
                                                         MARCUS WILLIAMS
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     Stipulation and Order to Continue Judgment and Sentencing of Marcus Williams
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 1   Dated: May 27, 2011                               U.S. ATTORNEY’S OFFICE
 2                                                     By: /s/ Michael E. Hansen for
                                                       JILL THOMAS
 3                                                     Assistant U.S. Attorney
                                                       Attorney for Plaintiff
 4
 5
 6                                            ORDER
 7           IT IS HEREBY ORDERED that the previously-scheduled judgment and sentencing
 8   date of June 2, 2011, be vacated and the matter set for judgment and sentencing on July 7,
 9   2011.
10   Dated: May 31, 2011.
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12                                                     UNITED STATES DISTRICT JUDGE

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     Stipulation and Order to Continue Judgment and Sentencing of Marcus Williams
